2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 1 of 32   Pg ID 804
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 2 of 32   Pg ID 805
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 3 of 32   Pg ID 806
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 4 of 32   Pg ID 807
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 5 of 32   Pg ID 808
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 6 of 32   Pg ID 809
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 7 of 32   Pg ID 810
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 8 of 32   Pg ID 811
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 9 of 32   Pg ID 812
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 10 of 32   Pg ID 813
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 11 of 32   Pg ID 814
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 12 of 32   Pg ID 815
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 13 of 32   Pg ID 816
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 14 of 32   Pg ID 817
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 15 of 32   Pg ID 818
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 16 of 32   Pg ID 819
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 17 of 32   Pg ID 820
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 18 of 32   Pg ID 821
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 19 of 32   Pg ID 822
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 20 of 32   Pg ID 823
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 21 of 32   Pg ID 824
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 22 of 32   Pg ID 825
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 23 of 32   Pg ID 826
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 24 of 32   Pg ID 827
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 25 of 32   Pg ID 828
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 26 of 32   Pg ID 829
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 27 of 32   Pg ID 830
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 28 of 32   Pg ID 831
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 29 of 32   Pg ID 832
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 30 of 32   Pg ID 833
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 31 of 32   Pg ID 834
2:17-cv-12906-NGE-DRG   Doc # 33   Filed 12/27/17   Pg 32 of 32   Pg ID 835
